
93 N.Y.2d 1036 (1999)
In the Matter of FRANK W. DEARSTYNE, JR., Appellant,
v.
RENSSELAER COUNTY DISTRICT ATTORNEY et al., Respondents.
Court of Appeals of the State of New York.
Submitted September 13, 1999.
Decided September 21, 1999.
Appeal, insofar as taken from that part of the Appellate Division order that dismissed the appeal from County Court's order denying reargument, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such part of the order does not finally determine the proceeding within the *1037 meaning of the Constitution; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
